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                                                                                            IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE DISTRICT OF ALASKA
                                 Anchorage, Alaska 99501-2126




                                                                        FELISHA L. LASHLEY,

                                                                                     Plaintiff,
                                          413 G Street




                                                                        vs.

                                                                        HORACE MANN TEACHERS
                                                                        INSURANCE, INC.,

                                                                                     Defendant.
                                                                                                                Case No.: 3:12-cv-00197-RRB

                                                                              MOTION FOR PARTIAL SUMMARY JUDGMENT RE NO DUTY TO
                                                                                          ARBITRATE AND ADVANCE PAY


                                                                               COMES NOW the Defendant TEACHERS INSURANCE COMPANY,

                                                                        incorrectly named HORACE MANN TEACHERS INSURANCE, INC., in the

                                                                        caption, by and through counsel, Call, Hanson and Kell, P.C. and pursuant

                                                                        to Civil Rule 56 of the Federal Rules of Civil Procedure, moves this court for

                                                                        partial summary judgment on plaintiff’s bad faith claims for breach of the

                                                                        alleged duty to arbitrate and breach of duty to advance payment of a

                                                                        settlement offer.

                                                                        MOTION FOR PARTIAL SUMMARY JUDGMENT RE NO DUTY TO ARBITRATE
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                                                                                                             CALL, HANSON & KELL, P.C.
                                                                                                             Attorneys for Teachers Insurance
                                                                                                             Company


                                                                        Dated: January 23, 2013              By:   s/Blake H. Call
                                                                                                                   Blake H. Call
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                                                                        CERTIFICATE OF SERVICE
                                                                        I certify that on this 23rd day of
                                 Anchorage, Alaska 99501-2126




                                                                        January, 2013, a true and correct
                                                                        copy of the foregoing document,
                                                                        and attachments if any, were
                                                                        served electronically upon the
                                          413 G Street




                                                                        following counsel of record:

                                                                        Herman G. Walker, Jr.
                                                                        Limon & Walker
                                                                        606 E. Street, Suite 203
                                                                        Anchorage, AK 99501

                                                                        s/Blake H. Call




                                                                        MOTION FOR PARTIAL SUMMARY JUDGMENT RE NO DUTY TO ARBITRATE
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